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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    STINGRAY IP SOLUTIONS, LLC,                        §
                                                       §
                                                       §
                  Plaintiff,                           §
                                                       §
    v.                                                 §     CIVIL ACTION NO. 2:21-CV-00044-JRG
                                                       §
    SIGNIFY N.V., SIGNIFY (CHINA)                      §        LEAD CASE
    INVESTMENT CO., LTD., SIGNIFY                      §
    HONG KONG LIMITED, SIGNIFY                         §
    NETHERLANDS B.V., SIGNIFY                          §
    POLAND SP. Z.O.O.,                                 §
                                                       §
                  Defendants.                          §

                                                  ORDER
         The Court issues this Order sua sponte. Defendant Signify N.V. (“Signify”) filed its Motion

to Dismiss Plaintiff’s First Amended Complaint (the “Motion to Dismiss”) (Dkt. No. 23) on June

28, 2021. On July 15, 2021, Plaintiff Stingray IP Solutions, LLC) (“Stingray”) filed a Motion for

Expedited Jurisdictional Discovery and to Extend Time to Respond to Defendant Signify N.V.’s

Motion to Dismiss (the “Motion for Jurisdictional Discovery”) (Dkt. No. 33).

         The Court notes that Signify has not requested a hearing on the Motion to Dismiss or

filed a motion to stay pending resolution of the same.1 However, the Court finds that it might

benefit from oral argument regarding the above motions, which were fully briefed on August

2, 2021. Accordingly, it is hereby ORDERED that the Motion to Dismiss (Dkt. No. 23) and




1
 In its response to the Motion for Jurisdictional Discovery, Signify opposes the request for such discovery
but asks the Court, alternatively, to stay the case if Stingray’s request is granted. (Dkt. No. 39). Otherwise,
Signify’s has filed no independent motion seeking a stay.
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the Motion for Jurisdictional Discovery (Dkt. No. 33) are set for oral argument on Friday,

October 8, 2021 at 2:00 p.m. in Marshall, Texas.

    So ORDERED and SIGNED this 27th day of September, 2021.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE




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